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                         CORRECIN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              Case No. 23-22688-CIV-ALTONAGA/Louis


   FLORIDA RIGHTS RESTORATION
   COALITION, et al.,

           Plaintiffs,

   v.

   RONALD DESANTIS, in his official
   capacity as Governor of Florida, et al.,

         Defendants.
   __________________________________/


                            __________________________________________

                         DEFENDANTS’ CORRECTED MOTION TO DISMISS
                           __________________________________________
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                                               INTRODUCTION 1

           Plaintiffs’ amended complaint names 142 public-official defendants and alleges a “campaign”

   to disenfranchise individuals with prior felony convictions. ECF No. 9 ¶ 3. Plaintiffs advance novel

   theories to support their request for an unprecedented judicial takeover and enforcement of state-law

   voter-registration procedures—a takeover of a program upheld by the Eleventh Circuit. But Plaintiffs’

   pleading fails at the starting blocks. Plaintiffs lack standing to sue, assert claims barred by sovereign

   immunity, fail to state a claim, and even violate basic pleading requirements.

           Part I of this motion explains why Plaintiffs have failed to allege their standing to sue. Part II

   explains that sovereign immunity bars claims that seek to enforce state-law obligations—despite the

   federal-law labels that Plaintiffs place on those claims—and that some Defendants are not appropriate

   parties here under Ex Parte Young. Next, Part III points out that the amended complaint egregiously

   violates Federal Rule of Civil Procedure 8, which requires that pleadings be short and concise. Next,

   Part IV explains why each of the amended complaint’s four counts fails to state a claim. Finally, Parts

   V and VI provide additional reasons why this Court should dismiss the Clerks and the Supervisors,

   respectively.2

           For the reasons that follow, this Court should dismiss Plaintiffs’ amended complaint.

                                                BACKGROUND

           A. In 2018, “the people of Florida approved a historic amendment to their state constitution

   to restore the voting rights of thousands of convicted felons.” Jones v. Governor of Fla., 975 F.3d

   1016, 1025 (11th Cir. 2020) (en banc) (“Jones II”). Notably, however, the restoration of voting rights



           1
             This corrected motion is filed to add footnotes 4 and 5, which were inadvertently omitted
   from the motion filed on October 30, 2023. See ECF No. 324. Plaintiffs do not oppose the filing
   of this corrected motion.
           2
               The state-level Defendants do not join Parts V and VI.


                                                       1
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   is still not available “to felons convicted of murder or a felony sexual offense.” Id. at 1026 (citing Fla.

   Const. art. VI, § 4(a)–(b)). The restoration of voting rights for all other convicted felons also comes

   with “one condition: before regaining the right to vote, felons must complete all the terms of their

   criminal sentences, including imprisonment, probation, and payment of any fines, fees, costs, and

   restitution.” Id. The Eleventh Circuit has held that the financial terms of that condition do not violate

   the Equal Protection Clause, id. at 1028–37, the Twenty-Fourth Amendment’s prohibition on poll

   taxes, id. at 1037–46, the Due Process Clause, id. at 1046–50, or the Nineteenth Amendment’s prohi-

   bition on sex-based voting qualifications, Jones v. Governor of Fla., 15 F.4th 1062, 1067–68 (11th

   Cir. 2021) (“Jones III”).

           B. The Florida Legislature established a framework to “implement the amendment” to the

   Florida Constitution, Jones II, 975 F.3d at 1026, and to “protect the integrity of the electoral process

   by ensuring the maintenance of accurate and current voter registration records,” Fla. Stat. § 98.075(1).

   Under that framework, “Florida does not require felons to prove that they have completed their sen-

   tences during the registration process.” Jones II, 975 F.3d at 1026. If a “registration form is complete,

   and the Division of Elections determines that the registrant is a real person, it adds the person to the

   voter registration system.” Id. Stated differently, “[o]nce a felon submits a facially complete registra-

   tion form and Florida determines that he is a real person, he is added to the voting rolls as a registered

   voter; he is not then required to prove that he has completed his sentence.” Id. at 1035.

           “If the State later obtains ‘credible and reliable’ information establishing that the person has a

   felony conviction and has not completed all terms of his sentence, the person is subject to removal

   from the voter rolls.” Id. (quoting Fla. Stat. § 98.075(5)). “But [because] any such felon is considered

   a registered voter,” “before removal from the voter registration system, he is entitled to notice—in-

   cluding ‘a copy of any documentation upon which his potential ineligibility is based’—and a hearing,




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   as well as de novo judicial review of an adverse eligibility determination.” Id. (citing Fla. Stat.

   §§ 98.075(7), 98.0755).

           That’s where the Supervisors of Elections come into the picture. Supervisors are responsible

   for notifying the registered voter and inviting information from the voter about potential ineligibility

   because of a felony conviction. Fla. Stat. § 98.075(7)(a)1.–2. Supervisors must then make a final de-

   termination of eligibility or ineligibility, which may result in the voter’s removal from the registration

   rolls. Id. § 98.075(7)(a)3.–5.

           C. Taken together, under the Florida Constitution and its implementing state legislation, “a

   felon may not vote or register to vote if he knows that he has failed to complete all terms of his sen-

   tence.” Jones II, 975 F.3d at 1047 (citing Fla. Stat. §§ 104.011(2), 104.15, 98.0751(1)–(2)). Felons

   are themselves in the best position to know the terms of their sentence because “[e]very sentence” is

   “pronounced in open court,” and the felons themselves are provided with a copy of their judgment

   and sentence. Fla. R. Crim. P. 3.700(b). Still, “no felon who honestly believes that he has completed

   the terms of his sentence commits a crime by registering and voting” because Florida law establishes

   a “scienter requirement for voting violations.” Id. at 1048 (citing Fla. Stat. §§ 104.011(2), 104.15).

           In addition, the “State allows felons to request an advisory opinion on eligibility before regis-

   tration, and any felon who registers in reliance on an opinion is immune from prosecution.” Jones II,

   975 F.3d at 1026; see also Fla. Stat. § 106.23(2). Rule 1S-2.010 of the Florida Administrative Code

   governs the advisory opinion process. It “is the only process by which the Division of Elections is

   authorized to provide advisory opinions.” Id. The rule requires “a written request” that “must contain

   the following information”: the “[n]ame of the requestor,” the requestor’s “[a]ddress,” identification

   of the statutory provision “on which [an] advisory opinion is sought,” a “[d]escription of how this

   statutory provision may or does affect the requestor,” the “[p]ossible violation of Florida election laws




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   on which [an] advisory opinion is sought,” “[t]he precise factual circumstances giving rise to the

   request,” “[t]he point(s) on which the requestor seeks an opinion,” “[a]dditional relevant infor-

   mation,” and a “[s]tatement of necessity, if any, to expedite the division’s response.” Id.

           D. Plaintiffs take issue with Florida’s method of re-enfranchisement for those felons with out-

   standing financial conditions imposed as part of their sentence. Plaintiffs name 142 public officials as

   defendants—beginning with the Governor of Florida—alleging that the public officials have engaged

   in a “campaign” to disenfranchise individuals with felony convictions. ECF No. 9 ¶ 3. The allegations

   specific to individual public officials are thin, vague, or both.

           Consider the following allegations related to the state-level Defendants:

                  Governor DeSantis is seemingly named because of his broad duty to “take
                   care that the laws be faithfully executed, commission all officers of the state
                   and counties, and transact all necessary business with the officers of govern-
                   ment” and because he “serves as the head of” the Florida Department of Law
                   Enforcement (“FDLE”). Id. ¶ 42 (quoting Fla. Const. art. VI, § 1). Plaintiffs
                   also take issue with statements the Governor made as a candidate for office in
                   2018, id. ¶¶ 69–71, snippets from a letter his office wrote in 2019, id. ¶ 72,
                   and the routine exercise of his role, such as the signing of legislation, id. ¶ 79.

                  Secretary Byrd, the head of the Florida Department of State, is named because
                   his office “cannot reliably determine whether individuals previously convicted
                   of a felony have outstanding financial obligations related to their conviction,”
                   id. ¶ 86, and because, in Plaintiffs’ view, his office is not complying with state
                   law, id. ¶¶ 84–92 (collecting citations).

                  Secretary Dixon, the head of the Department of Corrections, and the Commis-
                   sioners of the Florida Commission on Offender Review are named because
                   they “fail” “to provide people with prior felony convictions accurate written
                   information” about the financial conditions associated with their convictions.
                   Id. ¶ 98. Again, Plaintiffs maintain that state law is the source of this continu-
                   ing obligation to track and inform felons about the terms of their conviction.
                   Id. ¶¶ 95–100.

                  Commissioner Glass, the head of FDLE, is also named, though, unlike the
                   other Defendants, no specific section of the amended complaint details why.
                   At most, it seems, he’s named because of his role in the arrests of those who
                   either registered to vote or voted despite having been “convicted of murder or
                   a felony sexual offense.” Id. ¶ 131.



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          Allegations concerning the county-level Defendants—the Clerks and the Supervisors—fare

   no better. Consider the following:

                 Plaintiffs fault the Clerks for not keeping a running tally of the amounts paid
                  towards a felon’s financial obligations under the State’s first-dollar policy, and
                  provide a handful of examples where county clerks, from Plaintiffs’ perspec-
                  tive, have not been responsive to inquiries. Id. ¶¶ 102–09.

                 Plaintiffs say, without factual enhancement, that the Supervisors do not follow
                  state law by “notifying voters . . . when the Supervisors have concluded that
                  persons with prior felony convictions are ineligible to register to vote or are
                  improperly registered to vote.” Id. ¶ 116.

          Plaintiffs allege four claims for relief based on their allegations. The first is a claim under

   § 11(b) of the Voting Rights Act “against Defendants DeSantis, Byrd, and Glass.” Id. ¶¶ 171–75. The

   second is an “arbitrary and disparate treatment” claim under the Equal Protection Clause of the Four-

   teenth Amendment to the U.S. Constitution “against Defendants DeSantis and Byrd, County Clerk

   Defendants and Supervisor Defendants.” Id. ¶¶ 176–83. The third appears to be an “undue burden on

   the right to vote” claim “against all Defendants” under the Anderson/Burdick test, which is rooted in

   the First and Fourteenth Amendments to the U.S. Constitution. Id. ¶¶ 184–95. The fourth claim is a

   state-law “equitable accounting” claim against “Defendant Byrd and the County Clerk Defendants.”

   Id. ¶¶ 196–200. The relief sought runs the gamut from declarations and injunctions to the imposition

   of a federal monitor. Id. at 69–71. At base, however, Plaintiffs seek an order directing the state-level

   Defendants and Supervisors to “follow the procedures set forth in Florida Statutes Sections 98.075(5),

   98.075(7), and 98.0751”—i.e., they want a federal court to direct compliance with state law. Id. at 75.

                                             LEGAL STANDARD

          To survive a motion to dismiss, a complaint must allege facts sufficient to establish the Court’s

   subject-matter jurisdiction. Muransky v. Godiva Chocolatier, Inc., 979 F.3d 917, 924-25 (11th Cir.

   2020) (en banc); see also Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992). The complaint must




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   also “state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

   (2007). This requires “factual content” that will support a “reasonable inference that the defendant is

   liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Pleading facts that

   “are merely consistent with a defendant’s liability” isn’t enough because it “stops short of the line

   between possibility and plausibility of entitlement to relief.” Id. (internal marks omitted). “Threadbare

   recitals of the elements of a cause of action, supported by mere conclusory statements, do not suffice”

   either. Id. And while well-pleaded factual allegations are accepted as true, legal conclusions are in-

   sufficient to survive dismissal. Ziyadat v. Diamondrock Hosp. Co., 3 F.4th 1291, 1295–96 (11th Cir.

   2021).

                                                 ARGUMENT

   I.       PLAINTIFFS LACK ARTICLE III STANDING TO SUE.

            Standing is a burden that “rests with the party bringing the claim.” Williams v. Poarch Band

   of Creek Indians, 839 F.3d 1312, 1314 (11th Cir. 2016). It requires Plaintiffs to plead and then prove

   (1) an injury in fact (2) that’s fairly traceable to the challenged action, and (3) that’s likely to be re-

   dressed by a favorable decision. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992). Neither the

   organizational Plaintiff (FRRC) nor the individual Plaintiffs have standing.

            A. First, the organization. It’s axiomatic that organizations must suffer their own injuries-in-

   fact: “[A]n organization’s abstract concern with a subject that could be affected by an adjudication

   does not substitute for the concrete injury required by Art[icle] III.” Simon v. E. Ky. Welfare Rights

   Org., 426 U.S. 26, 40 (1976). Organizational injuries that rely on a diversion-of-resource theory re-

   quire the identification of the projects or activities from which resources are being diverted and the

   projects and activities to which the resources are being diverted. See Jacobson v. Fla. Sec’y of State,

   974 F.3d 1236, 1250–52 (11th Cir. 2020). Alternatively, organizations must show standing through

   the standing of their members, which would require identifying members and alleging how they have


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   been harmed. See Summers v. Earth Island Inst., 555 U.S. 488, 499 (2009) (“identify members who

   have suffered the requisite harm”); Jacobson, 974 F.3d at 1249; LULAC v. Abbott, 604 F. Supp. 3d

   463, 483 (W.D. Tex. 2022) (three-judge court). FRRC has done neither.

           Stripped of all the extraneous allegations quoting news stories and the like, FRRC alleges that

   it “brings this action on behalf of itself and its members.” ECF No. 9 ¶ 10. “It is run by people with

   prior felony convictions who are dedicated to ending the disenfranchisement and discrimination

   against people with convictions.” Id. FRRC “pursued a successful campaign to amend the Florida

   Constitution” so that felons—other than murderers and sexual offenders—could have their voting

   rights restored. Id. ¶ 57. That’s it.

           Crucially, “FRRC’s grant money is specifically donated to help restore voting rights”—“to

   pay off” financial conditions associated with felony convictions. Id. ¶ 111. That’s the FRRC’s mission;

   it must spend its money to help felons register to vote by helping them “pay off” their financial con-

   ditions. Id. It’s for this reason that the diversion theory fails just as it did in Shelby Advocates for Valid

   Elections v. Hargett, where the “alleged diversionary actions” of “spending money to bring, fund, and

   participate” in litigation “to address voting inequities and irregularities” were the mission. 947 F.3d

   977, 982 (6th Cir. 2020). Said differently, FRRC cannot show, and does not allege, that grant money

   specifically donated to pay off financial obligations for felons is being diverted from that task to an-

   other task. See Jacobson, 974 F.3d at 1250–52. Thus, the diversion theory doesn’t work. See generally

   City of S. Miami v. Governor of Fla., 65 F.4th 631, 640 (11th Cir. 2023) (holding that organizational

   plaintiffs lacked standing).

           Associational standing doesn’t work either. It requires the identification of specific members

   with standing to sue in their own right. Summers, 555 U.S. at 499; Ga. Republican Party v. SEC, 888

   F.3d 1198, 1203–05 (11th Cir. 2018). The only FRRC members identified in the amended complaint




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   are the named Plaintiffs, Roshanda Bryant-Jones, ECF No. 9 ¶ 19, Angel Sanchez, id. ¶ 25, Autumn

   Waite, id. ¶ 35, and Brandon Walthour, id. ¶ 39. None has standing to sue in their own right, as dis-

   cussed below. All that’s left are general allegations of societal harm that Plaintiffs say flows from

   Defendants’ alleged failure to adhere to the law. That’s not enough to plead standing. See Iqbal, 556

   U.S. at 678; Arcia v. Fla. Sec’y of State, 772 F.3d 1335, 1342 (11th Cir. 2014) (requiring “a concrete

   and demonstrable injury, not an abstract social interest”).

           B. Second, the individual Plaintiffs. Plaintiff, Ms. Jones states that she paid off the financial

   obligations associated with her felony convictions, ECF No. 9 ¶¶ 20–21, and is a registered voter, id.

   ¶ 23. She “fears” that she might be arrested in the future for casting a vote, id. ¶ 24, because those

   previously “convicted of murder or a felony sexual offense” have been arrested and “charged with

   felony voter fraud and false registration,” id. ¶ 131. She’s not a murderer or sexual offender and,

   recall, the restoration of voting rights was never available “to felons convicted of murder of a felony

   sexual offense.” Jones II, 975 F.3d at 1026 (citing Fla. Const. art. VI, § 4(a)–(b)). Ms. Jones’s fear of

   hypothetical future harm thus depends on a “highly attenuated chain of possibilities”: (1) her being

   wrong about the payment of her financial obligations, (2) the State of Florida arresting people for

   honest mistakes about whether financial obligations remain outstanding, and (3) the State arresting

   felons other than those who are murders or sexual offenders. Under the circumstances, Ms. Jones does

   not have standing to sue. See Clapper v. Amnesty Int’l USA, 568 U.S. 398, 401 (2013).

           Plaintiff, Mr. Sanchez similarly lacks standing. He completed all the terms of his sentence,

   including the payment of financial obligations and probation, on April 30, 2014. ECF No. 9 ¶ 27. He

   even obtained an advisory opinion finding that his “voting rights have been restored,” id. ¶ 31, and is

   an active, registered voter, id. ¶ 28. He is also not a murderer or sexual offender. See id. ¶ 31. His

   hypothetical, fear-based future injuries are thus insufficient to sue. See Clapper, 568 U.S. at 401.




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           Plaintiffs, Ms. Waite and Mr. Walthour, lack standing for the same reason. Both are registered

   to vote. ECF No. 9 ¶ 36 (Waite), ¶ 40 (Walthour). Ms. Waite has “completed her probation and the

   terms of her felony sentence,” and she doesn’t allege that her felony convictions were for murder or

   a sexual offense. Id. ¶ 36. Mr. Walthour “has never been convicted of a felony offense and therefore

   never lost his voting rights under Florida law.” Id. ¶ 39.

           In sum, all of the individual Plaintiffs know they can register to vote and have registered to

   vote. Their fear of hypothetical future harms is insufficient to establish standing to sue. Because of

   that, FRRC cannot rely on these individuals to establish associational standing either.

   II.     SOVEREIGN IMMUNITY BARS PLAINTIFFS FROM PURSUING STATE-LAW CLAIMS DIS-
           GUISED AS FEDERAL-LAW CLAIMS.

           Sovereign immunity bars state-law claims—even if those claims are disguised as federal-law

   claims. It therefore bars all claims against the Supervisors, since Plaintiffs’ claims against the Super-

   visors are founded on alleged violations of notice requirements in section 98.075(7)(a). And it also

   bars Plaintiffs’ claims against the state-level Defendants to the extent those claims assert violations of

   state laws such as 98.0751(3) and 98.075(5), which require the Department of State to assess eligibil-

   ity to register to vote, and section 106.23, which requires the Department of State to issue advisory

   opinions.

           A.      The Ex Parte Young Exception Does Not Permit State-Law Claims Disguised as
                   Federal-Law Claims.

           Ordinarily, a state may not be sued without its consent. Pennhurst State Sch. & Hosp. v. Hal-

   derman, 465 U.S. 89, 98 (1984). This principle of sovereign immunity limits the jurisdiction of federal

   courts. Id. The Supreme Court has recognized a limited exception to this jurisdictional bar, permitting

   suits that challenge the constitutionality of a state official’s action and seek prospective relief. Id. at

   102–03 (citing Ex Parte Young, 209 U.S. 123 (1908)). The “need to promote the vindication of federal

   rights” and to enforce the supremacy of federal law justifies the Ex Parte Young exception. Id. at 105.


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           The Ex Parte Young exception does not, however, permit suits that challenge a state official’s

   non-compliance with state law. Id. at 106. Because suits that seek to compel state officials to comply

   with state law do not “vindicate the supreme authority of federal law,” the “entire basis” for the Ex

   Parte Young exception “disappears.” Id. Indeed, “it is difficult to think of a greater intrusion on state

   sovereignty than when a federal court instructs state officials on how to conform their conduct to state

   law.” Id. This limitation on the Ex Parte Young exception is sometimes called the Pennhurst doctrine.

           Federal courts are vigilant to detect and thwart attempts to circumvent the Pennhurst doctrine.

   When a complaint attempts to disguise or repackage a violation of state law as a violation of federal

   law, the Pennhurst doctrine bars the claim. Balsam v. Sec’y of N.J., 607 F. App’x 177, 183 (3d Cir.

   2015) (“Appellants’ attempt to tie their state law claims into their federal claims is unpersuasive.”);

   Massey v. Coon, 865 F.2d 264, 1989 WL 884, at *2 (9th Cir. 1989) (unpublished table decision) (“Alt-

   hough on its face the complaint states a claim under the due process and equal protection clauses of

   the Constitution, these constitutional claims are entirely based on the failure of defendants to conform

   to state law.”); Lake v. Hobbs, 623 F. Supp. 3d 1015, 1030 (D. Ariz. 2022) (“Courts have repeatedly

   rejected alleged federal constitutional claims that rely on a determination that state officials have not

   complied with state law.”); Bowyer v. Ducey, 506 F. Supp. 3d 699, 716 (D. Ariz. 2020) (“However,

   where the claims are state law claims, masked as federal law claims, Ex Parte Young is inapplicable

   and the Eleventh Amendment clearly bars the suit.”); Acosta v. Democratic City Comm., 288 F. Supp.

   3d 597, 628 (E.D. Pa. 2018) (“Even though Plaintiffs may attempt to tie their Pennsylvania Election

   Code claims into their constitutional claims, the Eleventh Amendment still bars the state law claim as

   to Secretary Cortés.”). The gravamen of the claim, not its label, determines Pennhurst’s applicability.

           For example, in DeKalb County School District v. Schrenko, 109 F.3d 680 (11th Cir. 1997),

   the plaintiffs alleged that Georgia violated a state statute that regulated state reimbursement of local




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   expenditures for school-bus transportation—and that the same conduct in turn violated the Fourteenth

   Amendment and two federal statutes. The Eleventh Circuit looked to the “gravamen” of the plaintiffs’

   complaint, however, and explained that the district court’s judgment “appears to be one for violation

   of state law.” Id. at 688. It concluded that sovereign immunity barred the plaintiffs’ claims. Id. at 690.

           More recently, in S&M Brands, Inc. v. Georgia ex rel. Carr, 925 F.3d 1198 (11th Cir. 2019),

   the plaintiff alleged that Georgia violated a state statute that required the release of escrowed funds—

   and that its refusal to release the funds constituted a taking under the Fifth Amendment and a violation

   of the First Amendment. Id. at 1205. The Eleventh Circuit affirmed dismissal of the plaintiff’s claim,

   explaining that state law established the obligation to release funds and determined the amount to be

   released. Id. Because the “gravamen” of the claim was that “the State has improperly interpreted and

   failed to adhere to a state statute,” the Pennhurst doctrine barred the claim. Id. (quoting Schrenko, 109

   F.3d at 688).

           The same is true here. Plaintiffs assert claims that, while clothed in federal-law labels, allege

   violations of state law.

           The Supervisors. All of Plaintiffs’ claims against the sixty-seven Supervisors rest on alleged

   violations of state law. As to the Supervisors, Plaintiffs allege that section 98.075(7) requires a Super-

   visor who receives notice of a voter’s potential ineligibility from the Florida Department of State to

   notify the voter of the voter’s “potential ineligibility.” ECF No. 9 ¶ 115 & n.87. Plaintiffs then recite

   the content that, under that statute, those notices must contain. Id. ¶ 115. Plaintiffs further allege that

   the state statute requires the Supervisor to notify the voter of the Supervisor’s final determination. Id.

   Finally, Plaintiffs allege that the “Supervisors are not following these procedures”—i.e., the state-law

   procedures—or “notifying voters subject to this review process”—i.e., the state-law process. Id.

   ¶ 116. The amended complaint further alleges that the Supervisors are “failing to comply with their




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   obligations under Florida Statutes section 98.075 and 98.0751 to notify people with prior felony con-

   victions who are not eligible to register to vote, or who are improperly registered to vote.” Id. ¶ 192.g.3

   And the practical relief that Plaintiffs seek is an injunction that orders compliance with Florida law.

   Plaintiffs ask the Court to order Defendants to “make findings regarding the eligibility of each such

   registered voter consistent with Florida Statutes Section 98.075(5), and inform each such voter of the

   result of the review performed pursuant to Florida Statutes Section 98.075(7).” Id. at 75. Likewise, as

   to individuals who register to vote after the date of this Court’s order, Plaintiffs ask the Court to order

   Defendants to “follow the procedures set forth in Florida Statutes Sections 98.075(5), 98.075(7) and

   98.0751.” Id.

           The State-Level Defendants. As to the state-level Defendants, Plaintiffs allege that Secretary

   Byrd and the Florida Department of State aren’t following state law, ECF No. 9 ¶ 86, and are taking

   too long to issue advisory opinions, id. ¶ 90. They allege that the Department of Corrections and the

   Commission on Offender Review are failing to abide by their duties under Florida law to give felons

   information about outstanding financial conditions imposed as part of the criminal sentence. Id.

   ¶¶ 95–96, 98. They allege that Governor DeSantis and Secretary Byrd are “failing to ensure that the

   Florida executive branch meets its obligations under Florida Statutes Sections 98.075, 98.0751, and

   106.23,” id. ¶ 192—statutes that address eligibility determinations and advisory opinions. And they

   seek an injunction compelling compliance “with Florida Statutes Section 98.075(5),” which estab-

   lishes the Secretary of State’s obligations with respect to eligibility reviews of registered voters, and


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            As of July 1, 2023, the Supervisors also receive weekly information from the Clerks in their
   respective counties to identify registered voters who were convicted of felonies during the preceding
   week, and whose voting rights have not been restored. §§ 98.075(5)(b), 98.093(3)(c), Fla. Stat. If the
   Supervisor determines that the information provided by the Clerk is “credible and reliable,” then the
   Supervisor follows the statutory procedures for the voter’s removal from the registration rolls. Id.
   § 98.075(5)(b), (7). Because the amended complaint contains no allegations regarding this weekly
   flow of information from the Clerks, that process is not at issue in this case.


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   ordering Defendants to “follow the procedures set forth in Florida Statutes Sections 98.075(5),

   98.075(7) and 98.0751.” Id.

             Plaintiffs also allege that state law requires the Secretary of Corrections and Commissioners

   of the Florida Commission on Offender Review to provide felons with accurate information about

   their outstanding financial obligations. ECF No. 9 ¶¶ 95–100 & nn.71–73 (citing Fla. Stat. §§ 940.061,

   944.705(7)(a), 948.041). Plaintiffs allege that these Defendants “fail to meet these obligations,” id.

   ¶ 98, and ask this Court to enforce the obligations that Plaintiffs claim state law imposes, id at 69–70.

             As in Schrenko and S&M Brands, state law establishes the obligations that these claims seek

   to enforce, and the requested relief even cites the state statutes that Plaintiffs ask this Court to enforce.

   While Plaintiffs label their claims as federal statutory and constitutional claims, labels cannot obscure

   the gravamen of their claims, which allege violations of state law. Here, as in S&M Brands, “conclu-

   sory allegations that the same conduct that violates state law also violates the U.S. Constitution will

   not boost the claim over the sovereign-immunity bar.” 925 F.3d at 1204. Consistent with Schrenko

   and S&M Brands, this Court should guard against circumventions of Pennhurst, safeguard the limits

   that sovereign immunity places on this Court’s jurisdiction, and dismiss Plaintiffs’ de-facto state-law

   claims.

             B.     The Supervisors Are Entitled to Sovereign Immunity.

             Although sovereign immunity “generally applies only to state officials, not county officials,”

   it shields county officials who have been “enlisted to carry out state policy.” Schultz v. Alabama, 42

   F.4th 1298, 1314 (11th Cir. 2022) (emphases in original). That is the case here. The Florida Legislature

   establishes Florida’s election laws. The Florida Election Code, enacted by the Legislature, prescribes

   in detail the duties of the Supervisors. See Fla. Stat. Chs. 97–106. In fact, the Legislature has expressly

   preempted the field of election regulation to the State and left no authority to counties to establish

   their own election regulations. § 97.0115, Fla. Stat.; Orange Cnty. v. Singh, 268 So. 3d 668, 674 (Fla.


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   2019) (concluding that the Florida Election Code preempted a county ordinance that required county

   constitutional officers to be elected on a non-partisan basis). The Supervisors therefore carry out state

   policy enacted by the Legislature, not county policy established by boards of county commissioners.

           More specifically, to determine whether a county official is entitled to the protections afforded

   by state sovereign immunity, the Eleventh Circuit asks “(1) how state law defines the entity; (2) what

   degree of control the State maintains over the entity; (3) where the entity derives its funds; and (4) who

   is responsible for judgments against the entity.” Manders v. Lee, 338 F.3d 1304, 1308 (11th Cir. 2003)

   (en banc).

           The first two elements strongly favor immunity. While the Supervisors are county officers in

   the sense that their authority is geographically limited and each is elected by their own county’s voters,

   their office is not a subdivision of the county or the board of county commissioners, but a separate

   and independent constitutional office. Fla. Const. art. VIII, § 1(d); see also Demings v. Orange Cnty.

   Citizens Rev. Bd., 15 So. 3d 604, 606 (Fla. 5th DCA 2009) (“Additionally, under Florida’s constitu-

   tion, certain responsibilities of local governance are separately entrusted to independent constitutional

   officers who, at least in non-charter counties, are not accountable to the county’s governing board, but

   derive their power directly from the state.”).4 Supervisors derive their duties and powers from the

   State through the Florida Election Code—not from the county—and the “essential governmental na-

   ture” of their office is to administer state-regulated elections and perform duties assigned by the State.




           4
             The Miami-Dade Supervisor of Elections is the one exception. Under special home rule
   authority provided by article VIII, section 6(e) of the Florida Constitution, Miami-Dade County has
   a unique governmental structure whereby the independently elected office of Supervisor of Elections
   has been abolished and the powers and duties of that office have been vested to the elected County
   Mayor and are subject to the policy decisions of Miami-Dade’s governing body, the Board of County
   Commissioners.


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   Id. at 1319.5 In these respects, Supervisors resemble the sheriff in Austin v. Glynn County, 80 F.4th

   1342, 1347–49 (11th Cir. 2023), where the first two elements of Manders favored an assertion of

   immunity.

           Moreover, the specific function at issue here—the provision of notice to registered voters with

   prior felony convictions—is wholly controlled by the State. That function is part of a broader process

   established by the Legislature to review voter-registration records and remove ineligible voters. See

   Fla. Stat. § 98.075. That process requires the Florida Department of State to identify individuals with

   prior felony convictions and to make initial determinations of potential ineligibility. Id. § 98.075(5).

   It then requires the Supervisor to provide notice of potential ineligibility to the voter, to make a final

   determination of eligibility, and to notify the voter of the final determination. Id. § 98.075(7)(a). All

   of these functions are established and regulated by the State—not the board of county commissioners.

   And of course, the State—not the county—establishes the eligibility criteria that Supervisors apply in

   determining whether an individual is eligible to vote. Fla. Const. art. VI, § 4; Fla. Stat. § 97.041(2)(b).

           While the county provides the funds in the Supervisor’s budget, that fact is not dispositive of

   the third element of the Manders standard. Pellitteri v. Prine, 776 F.3d 777, 782 (11th Cir. 2015). It is

   the State that requires counties to establish a budget for the Supervisors and establishes the framework

   for the adoption of the Supervisors’ budgets. Fla. Stat. §§ 129.201–.202. The State also regulates the

   compensation of Supervisors of Elections, id. § 145.09, and guarantees the Supervisors’ independence

   from counties in personnel decisions and in the purchase of supplies and equipment, id. § 129.202(2).




           5
             Notwithstanding footnote 4, this also holds true in Miami-Dade County because the election
   administration issues that are the subject of this suit (i.e., voter registration and eligibility) are ex-
   pressly preempted to the State, and Supervisor White is simply carrying out the dictates set forth in
   state law. See Fla. Stat. § 97.0115; Miami-Dade Home Rule Charter § 3.06(B) (“[T]he provisions of
   the election laws of this state shall apply to elections held under this Charter.”).


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           Finally, while the State is not responsible for judgments against the Supervisors, this element

   is “not necessarily dispositive in any given case.” Pellitteri, 776 F.3d at 783 n.2. In fact, “the presence

   of a state treasury drain is likely sufficient but certainly not necessary for a finding of immunity.” Id.

   That is so because the chief purpose of sovereign immunity is to protect the dignity and integrity of

   States, not their checkbooks. Manders, 338 F.3d at 1327–28. And a “State’s ‘integrity’ is not limited

   to who foots the bill.” Id. at 1328. Moreover, in this case, it is not exposure to money damages that

   renders Ex Parte Young inapplicable (Plaintiffs do not seek money damages), but rather Plaintiffs’

   attempts to enforce state law. See Lake Country Ests., Inc. v. Tahoe Reg’l Plan. Agency, 440 U.S. 391,

   400–01 (1979) (noting that sovereign immunity has sometimes been extended “to protect the state

   treasury from liability”). The fourth factor is therefore of little or no moment here.

           Because the Supervisors of Elections carry out state policy under state control and regulation,

   they are entitled to sovereign immunity with respect to the specific function at issue in this litigation.

           C.      Six of the State-Level Defendants Should Be Dismissed Because They Are Not
                   Appropriate Ex Parte Young Defendants.

           At the very least, this Court should dismiss Governor DeSantis, Secretary Dixon, Commis-

   sioner Glass, and the Commissioners of Offender Review (Coonrod, Davison, Wyant) because they

   are not the appropriate Ex Parte Young Defendants.

           Ex Parte Young serves as an exception to the State’s Eleventh Amendment sovereign immun-

   ity. Under this exception, “[a] state official is subject to suit in his official capacity when his office

   imbues him with the responsibility to enforce the law or laws at issue in the suit.” Grizzle v. Kemp,

   634 F.3d 1314, 1319 (11th Cir. 2011). “[A] state officer, in order to be an appropriate defendant, must,

   at a minimum, have some connection with the enforcement of the provision at issue,” Osterback v.

   Scott, 782 F. App’x 856, 859 (11th Cir. 2019) (citations omitted), “such that an injunction prohibiting

   enforcement would be effectual” against that defendant, Support Working Animals, Inc. v. Governor



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   of Fla., 8 F.4th 1198, 1201 (11th Cir. 2021). Where the Governor is sued, his general executive au-

   thority to enforce state law and oversee the executive branch “is insufficient to make him the proper

   party.” Harris v. Bush, 106 F. Supp. 2d 1272, 1276–77 (N.D. Fla. 2000) (collecting cases) (emphasis

   added); see also Women’s Emergency Network v. Bush, 323 F.3d 937, 949 (11th Cir. 2003) (“A gov-

   ernor’s ‘general executive power’ is not a basis for jurisdiction in most circumstances.”); Osterback,

   782 F. App’x at 859 (“the Governor’s constitutional and statutory authority to enforce the law and

   oversee the executive branch do not make him a proper defendant under Ex Parte Young,” nor does

   his “partial responsibility for administering a challenged statute”). And state officials do not become

   proper defendants simply by advocating for challenged legislation. Common Cause Fla. v. DeSantis,

   No. 4:22-cv-00109-AW-MAF, 2022 WL 19978293, at *3 (N.D. Fla. Nov. 8, 2022) (“The lower federal

   courts have consistently held or recognized that governors cannot be sued under Ex Parte Young just

   because they have . . . publicly endorse[d] and defend[ed] the challenged scheme.”); see also Disability

   Rts. S.C. v. McMaster, 24 F.4th 893, 901 (4th Cir. 2022) (holding governor was not a proper defendant

   in a challenge to law for which he “publicly advocated” because he did not enforce it).

          The relief sought in Plaintiffs’ amended complaint is an injunction directing compliance with

   Sections 98.075(5), (7), and 98.0751 of the Florida Statutes. Those provisions concern, to varying

   degrees, the Department of State (Secretary Byrd’s Office), the Clerks, and the Supervisors. Even if

   Pennhurst didn’t serve as a bar—and it very much does—the Ex Parte Young exception still bars a

   claim against Governor DeSantis, Secretary Dixon, Commissioner Glass, Commissioner Coonrod,

   Commissioner Davison, and Commissioner Wyant. Plaintiffs sue the Governor because of his broad

   supervisory powers, ECF No. 9 ¶ 42, which isn’t enough, and the allegations concerning the others,




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   such as they are, don’t point to the enforcement of any particular provision. See generally ECF No.

   9.6

           Thus, this Court should dismiss Governor DeSantis, Secretary Dixon, Commissioner Glass,

   and the Commissioners of the Commission on Offender Review (Coonrod, Davison, Wyant).

   III.    THE AMENDED COMPLAINT IS NOT SHORT AND CONCISE.

           The federal rules mandate brevity in pleading. The statement of a claim must be “short,” Fed.

   R. Civ. P. 8(a)(2), and each allegation “must be simple, concise, and direct,” Fed. R. Civ. P. 8(d)(1).

   “The purpose of the rule is to eliminate prolixity in pleading and to achieve brevity, simplicity, and

   clarity.” Knox v. First Sec. Bank of Utah, 196 F.2d 112, 117 (10th Cir. 1952). The amended complaint

   egregiously violates Rule 8.

           The amended complaint spans 77 pages. It contains nearly 22,000 words—about 2,000 more

   than Shakespeare’s Julius Caesar—145 footnotes, and 203 rambling and repetitious paragraphs. It

   needlessly references dozens of news articles and recites redundant and extraneous information with

   excruciating particularity. Its factual detail is better suited to post-trial proposed findings of fact than

   to a pleading.

           “Only through superhuman patience, effort, and insight, could any attorney review the alle-

   gations of the Complaint and make paragraph-by-paragraph responses.” Mendez v. Draham, 182 F.

   Supp. 2d 430, 433 (D.N.J. 2002). This “places an unjustified burden on the court and the party who

   must respond to it because they are forced to select the relevant material from a mass of verbiage.”

   Salahuddin v. Cuomo, 861 F.2d 40, 42 (2d Cir. 1988) (internal marks omitted)). “District courts should



           6
            In fact, the Governor does not even oversee FDLE—the Cabinet does. See Fla. Stat.
   § 20.201, (“There is created a Department of Law Enforcement. The head of the department is the
   Governor and Cabinet.” (emphasis added)). Nor does he have any control over the Office of Statewide
   Prosecution. See Fla. Stat. § 16.56(1).


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   not have to read and decipher tomes disguised as pleadings.” Lindell v. Houser, 442 F.3d 1033, 1035

   n.1 (7th Cir. 2006); accord Cafasso, U.S. ex rel. v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1059

   (9th Cir. 2011) (“Our district courts are busy enough without having to penetrate a tome approaching

   the magnitude of War and Peace to discern a plaintiff’s claims and allegations.”). Nor should Defend-

   ants—all of whom are public officials who must dedicate significant resources to this time-consuming

   task.

           This Court has inherent authority to dismiss a complaint for violation of Rule 8’s “shortness”

   requirement. Weiland v. Palm Beach Cnty. Sheriff’s Off., 792 F.3d 1313, 1320 (11th Cir. 2015). Other

   courts have stricken or dismissed far less loquacious complaints. See Agnew v. Moody, 330 F.2d 868,

   870 (9th Cir. 1964) (55 pages); Smith v. Residential Cap., LLC, No. 1:14-cv-00622, 2014 WL

   1767821, at *2 (N.D. Ga. May 2, 2014) (60 pages and 130 paragraphs); Mutuelle Generale Francaise

   Vie v. Life Assur. Co. of Pa., 688 F. Supp. 386, 391 (N.D. Ill. 1988) (42 pages and 162 paragraphs).

           Plaintiffs’ statement of their claims is long—not short—and their allegations are prolix—not

   concise. Rather than require 142 public-official defendants to formulate answers to a needlessly long

   and meandering pleading, this Court should dismiss Plaintiffs’ amended complaint.

   IV.     EACH OF THE AMENDED COMPLAINT’S FOUR COUNTS FAILS TO STATE A CLAIM.

           A.      Plaintiffs Fail to State a Claim Under § 11(b) of the Voting Rights Act.

           Plaintiffs’ merits arguments fail as well. Their first claim for relief is under § 11(b) of the

   Voting Rights Act. That provision provides as follows:

           No person, whether acting under color of law or otherwise, shall intimidate, threaten,
           or coerce, or attempt to intimidate, threaten, or coerce any person for voting or at-
           tempting to vote, or intimidate, threaten, or coerce, or attempt to intimidate, threaten,
           or coerce any person for urging or aiding any person to vote or attempt to vote . . . .




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   52 U.S.C. § 10307(b). Regardless of whether Plaintiffs’ threadbare allegation of intimidation, threats,

   and coercion are sufficient under the pleading rules, there simply is no private right to enforce this

   particular provision of the Voting Rights Act.

          To be sure, there is no binding authority on the issue either; however, the Northern District of

   Georgia’s recent decision in Andrews v. D’Souza is instructive. No. 1:22-cv-04259, 2023 WL 6456517

   (N.D. Ga. Sept. 30, 2023). Andrews concluded that there’s no private cause of action under § 11(b).

   Id. at *28–30.

          First, the Andrews court recognized that § 11(b) itself “sets forth no express cause of action

   for private parties to sue to enforce its protections.” Id. at *28. So, the question becomes whether

   there’s an implied cause of action under the provision.

          Second, to determine whether there’s an implied cause of action, courts must work through

   the Supreme Court’s decision in Alexander v. Sandoval, 532 U.S. 275 (2001). Under Sandoval, an

   implied cause of action exists when the statute contains both (1) rights-creating language and (2) lan-

   guage demonstrating congressional intent to provide a private remedy to enforce that right. Id. at 286–

   88. There’s rights-creating language because § 11(b) “defines a class of persons—any person voting,

   attempting to vote, or aiding anyone in voting or attempting to vote (among others)—and their right

   to not be intimidated, threatened, or coerced.” 2023 WL 6456517, at *28. But there’s no “statutory

   language demonstrating congressional intent to provide a private remedy for a violation of those

   rights.” Id. at *30. By contrast, as the Andrews court explained, other sections of the Voting Rights

   Act, namely § 3 and § 14, include specific language tying the provisions to enforcement of the guar-

   antees of the Fourteenth and Fifteenth Amendments to the U.S. Constitution and allowing private

   litigants to enforce those constitutional guarantees. Id. at *29–30. “Section 11(b) stems from the Elec-




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   tions Clause rather than the 14th or 15th Amendments,” and there’s “no identifiable link” with “stat-

   utory language demonstrating congressional intent to provide a private remedy for a violation of []

   rights” that stem from the Elections Clause. Id.

            Thus, without a private cause of action, Plaintiffs fail to state a claim for relief under § 11(b)

   of the Voting Rights Act.

            B.      Plaintiffs Fail to State a Claim Under the Equal Protection Clause.

            Plaintiffs’ second claim arises under the Equal Protection Clause of the Fourteenth Amend-

   ment. Plaintiffs allege that county-by-county inconsistencies in how felons are treated violates the

   Constitution. The problem with this claim is twofold.

            First, Plaintiffs have not pled discriminatory intent. “Proof of discriminatory intent or purpose

   is a necessary prerequisite to any Equal Protection Clause claim.” Parks v. City of Warner Robins, 43

   F.3d 609, 616 (11th Cir. 1995). In other words, discriminatory intent is a necessary element of Plain-

   tiffs’ claim. Plaintiffs must plead and then prove that Defendants acted “‘because of,’ not merely ‘in

   spite of,’” the discriminatory effects of their actions on Plaintiffs. Pers. Adm’r of Mass. v. Feeney, 442

   U.S. 256, 279 (1979); see also Washington v. Davis, 426 U.S. 229, 242 (1976). No such allegation of

   intent appears in Plaintiffs’ 22,000-word pleading. That’s fatal.

            Second, to the extent Plaintiffs are asking for an identical, county-by-county process for cal-

   culating, tracking, and then notifying felons of their outstanding legal financial obligations, the Equal

   Protection Clause simply doesn’t require that. Variations from county-to-county are consistent with

   equal protection, even in an election-related matter, because they account for different circumstances

   in those jurisdictions. The Eleventh Circuit said so in Wexler v. Anderson, 452 F.3d 1226, 1233 (11th

   Cir. 2006). So did the Tenth Circuit in Citizen Center v. Gessler, 770 F.3d 900, 917–18 (10th Cir.

   2014).




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          Thus, for either of these two reasons, Plaintiffs fail to state a claim for relief under the Equal

   Protection Clause of the Fourteenth Amendment.

          C.      Plaintiffs Fail to State an Undue-Burden Claim Under the First and
                  Fourteenth Amendments.

          Plaintiffs’ third claim is for an undue burden on the right to vote under the First and Fourteenth

   Amendments to the U.S. Constitution. The Anderson/Burdick test is used to assess such claims. It

   requires courts to weigh the burden a state regulation imposes on the right to vote against the State’s

   proffered justifications for the burden. Burdick v. Takushi, 504 U.S. 428, 434 (1992); Anderson v.

   Celebrezze, 460 U.S. 780, 789 (1983). Severe burdens on the right to vote must be narrowly tailored

   to serve a compelling interest. Burdick, 504 U.S. at 434. Reasonable, non-discriminatory regulations

   that impose minimal burdens need only a rational basis to support them. Crawford v. Marion Cnty.

   Election Bd., 553 U.S. 181, 191 (2008).

          But the Anderson/Burdick test simply doesn’t apply here because this case concerns felon re-

   enfranchisement. “Every court to have analyzed” felon re-enfranchisement regimes—including the

   Eleventh Circuit that analyzed the very scheme being challenged—“has reached the same conclusion:

   felons do not have a fundamental right to vote.” Jones II, 975 F.3d at 1053. Because the right to vote

   is not implicated here, and the Anderson/Burdick test applies only when “evaluat[ing] a law respecting

   the right to vote,” it follows that Plaintiffs have no claim of undue burden on the right to vote. Craw-

   ford, 553 U.S. at 204 (Scalia, J., concurring); see also Jacobson, 974 F.3d at 1262 (refusing to apply

   Anderson/Burdick test “because the statute does not burden the right to vote”).

          D.      Plaintiffs Fail to State an Equitable Accounting Claim Under State Law.

          Finally, Plaintiffs fail to state an equitable accounting claim under Florida law. The problem

   here is an unbroken line of Florida cases that requires a contractual or fiduciary relationship between

   the person seeking an accounting and the person from whom the accounting is sought. The Florida



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   Supreme Court said in 1926 that “[c]ourts of equity take cognizance of cases in which contract de-

   mands between litigants involve extensive, mutual, or complicated accounts,” thereby requiring an

   accounting. Campbell v. Knight, 109 So. 577, 579 (Fla. 1929). In 1931, the Florida Supreme Court

   referred to a “right to an accounting in equity” when a “fiduciary relationship such as that of trustee,

   agent, executor, etc.” exists between the parties. Royal Indem. Co. v. Knott, 136 So. 474, 478 (Fla.

   1931). In 1939, the Florida Supreme Court discussed an accounting when “contract demands” require

   it. R.O. Holton & Co. v. Hull, 192 So. 229, 231 (Fla. 1939).

           Florida’s intermediate appellate courts have said much the same over the years. Florida’s

   Third District, for example, held that “equity” will take cognizance of cases where the contract de-

   mands between litigants involve extensive or complicated accounts.” F.A. Chastain Constr., Inc. v.

   Pratt, 146 So. 2d 910, 913 (Fla. 3d DCA 1962) (emphasis added); see also Bankers Trust Realty, Inc.

   v. Kluger, 672 So. 2d 897, 898 (Fla. 3d DCA 1996) (referencing contract demands).

           The problem for Plaintiffs is this: there is no contractual or fiduciary relationship between

   FRRC or any felon—named or otherwise—and any of the 142 Defendants. That means that Plaintiffs

   can’t pursue a claim for equitable accounting under Florida law.

   V.      PLAINTIFFS’ CLAIMS AGAINST THE CLERKS SHOULD BE DISMISSED.

           Plaintiffs complain of alleged disparate treatment regarding determination of voter eligibility

   in different counties, asserting violations of the First and Fourteenth Amendments of the federal Con-

   stitution against the Clerks and others. Plaintiffs’ specific allegations against Clerks regard reporting

   of LFOs (as that term is used in the amended complaint) following enactment of Amendment 4 and

   SB7066. But Clerks’ only role regarding voting rights determinations by the Department of State and

   Supervisors of Elections consists of reporting what they know of LFO accounts within their 67 indi-

   vidual jurisdictions. Where the FRRC, its alleged members, or other Plaintiffs do not inform Clerks




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   of payments of LFOs, Clerks have no way of updating their accounts to reflect such payments. Plain-

   tiffs expressly admit as much numerous times in the amended complaint. The particular relief re-

   quested by Plaintiffs in the form of a statewide database is also beyond the limited powers of the

   Clerks to provide. And the Eleventh Circuit has already expressly ruled that the difficulties that may

   be inherent in ascertaining LFOs do not violate the Constitution, and that Florida’s established proce-

   dures are “more than adequate” to satisfy constitutional muster.

           The Clerks show below (1) their duties and powers, and their limitations; (2) their lack of a

   role in determining voter eligibility, and the constitutional soundness of existing procedures; (3) their

   inability to create a statewide database; (4) Plaintiffs’ lack of Article III standing; and (5) Plaintiffs’

   failure to exhaust remedies, and the availability of ready redress in administrative or judicial proceed-

   ings.

           A.      Clerks’ Duties and Powers Are Prescribed and Limited by Law.

                   1.      Clerks Are Constitutional Officers Whose Powers Are Limited
                           by Law and to Their Respective Counties.

           Article V, Section 16 of the Florida Constitution establishes the office of the Clerk of the

   Circuit Courts: “There shall be in each county a clerk of the circuit court who shall be selected pur-

   suant to the provisions of Article VIII section 1.” The Clerks are thus one of five elected “Constitu-

   tional Officers” in a county.7 The Clerks exercise sovereign power over those duties assigned to them

   by the Florida Constitution and by the Florida Statutes (or by county charter, if any), but their duties,

   responsibilities, and abilities are limited to the respective counties in which they are elected. Clerks

   have no power or authority to exceed those prescriptions.




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           The other four constitutional officers are the Sheriff, Tax Collector, Property Appraiser, and
   Supervisor of Elections. Art. VIII, Sec. 1(d), Fla. Const.


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                  2.      Clerks Are Keepers of Court Records.

          Article V, Section 16 of the Florida Constitution defines the position of the Clerk as also serv-

   ing as Clerk of the Circuit Court. In that capacity, the Clerks maintain court records, including felony

   sentencing judgments. But Plaintiffs conflate that role with involvement in the determination of vot-

   ing rights under section 98.0751, Florida Statutes.8 Clerks are simply not involved in that determina-

   tion, other than to the extent records kept by the Clerks are pertinent to that determination by other

   Defendants. In fact, with respect to keeping court records, Clerks’ roles are purely ministerial, devoid

   of discretion, and Clerks cannot challenge the form of sentences or LFOs or other judicial acts. See

   Corbin v. State ex rel. Slaughter, 324 So. 2d 203, 204 (Fla. 1st DCA 1975); cf. The Florida Bar, 398

   So. 2d 446 (Fla. 1981) (court has inherent and exclusive constitutional authority over its agencies who

   act in its behalf). Clerks are not parties to the underlying criminal cases, and have no standing with

   regard to the sentencing process by the courts. Even the Florida Legislature has no supervisory au-

   thority over the Clerks with respect to their role as an arm of the court. Times Publ’g Co. v. Ake, 645

   So. 3d 1003, 1005 (Fla. 2d DCA 1994).

          B.      Clerks Do Not Determine LFOs for Purposes of Restoration of Voting Rights.

                  1.      Clerks Maintain and Report Accounts.

          The heart of Plaintiffs’ claims against the Clerks is summarized in Plaintiffs’ mistaken defini-

   tion of Clerks in paragraph 48 of the amended complaint, which alleges that Clerks “are responsible

   for computation of LFOs, crediting payments towards LFOs, and informing people with prior felony

   convictions, upon request, of the LFOs they owe.” See Amended Complaint, ¶ 48; see also id., ¶¶ 176,




          8
            All references to “section” or “§” in this Part V of Defendants’ Motion to Dismiss are to the
   Florida Statutes, unless otherwise indicated.


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   184, and 196 (incorporating paragraph 48 into Claims 2-4). Plaintiffs offer no citation for that alle-

   gation, which is unsurprising since it is inaccurate. Clerks are not “responsible” for calculating Plain-

   tiffs’ debts. Instead, Clerks are responsible for maintenance and reporting of account records as pre-

   scribed by law.

           First, the Florida Constitution provides that Clerks have responsibility for collecting and ac-

   counting for “fines and forfeitures”:

           All fines and forfeitures arising from offenses tried in the county court shall be col-
           lected, and accounted for by clerk of the court, and deposited in a special trust ac-
           count….

   Fla. Const. art. V, § 20(c)(8). Second, section 28.246(2), Florida Statutes, provides that Clerks:

           shall establish and maintain a system of accounts receivable for court-related fees,
           charges, and costs.

   Finally, of most concern to Plaintiffs, is the post-Amendment 4/SB 7066 (as those terms are used in

   the amended complaint) statutory provision in section 98.093, requiring that Clerks report information

   about their respective counties’ prior week’s felony convictions. That information includes:

           any financial obligations for court costs, fees, and fines [and]…

           The amounts of all financial obligations, including restitution and court costs, fees,
           and fines, and, if known, the amount of financial obligations not yet satisfied.

   § 98.093(3)(c)1.–2. (emphasis added).

                     2.    Clerks Do Not Determine Voter Eligibility Under Amendment
                           4/SB 7066.

           None of those provisions requires or allows Clerks to inform anyone—government actor or

   felon—whether a person has a right to register to vote, including with respect to LFOs. None of those

   provisions bestows upon Clerks any authority or discretion to determine LFOs, or to grant restoration

   of voting rights. Instead, the Legislature created through SB 7066 a detailed procedure by which the




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   Department of State and the Supervisors determine an individual’s eligibility. Section 98.075 pro-

   vides that the Department and the Supervisors “shall” use information provided by the Clerks and

   others9 as part of that determination, following the procedures of section 98.075(7). The information

   must be reviewed by the Department of State, and if found “credible and reliable”—not dispositive—

   forward it to the local Supervisor if indicative of “potential” ineligibility to vote. § 98.075(5). At that

   point, the Supervisors must follow the detailed procedures of section 98.075(7), which provides for

   notice to and opportunity to be heard for the potentially ineligible voter. Those procedures do not

   involve the Clerks—at all.

           The Legislature also created new Florida Statute section 98.0751, titled “Restoration of vot-

   ing rights; termination of ineligibility subsequent to a felony conviction.” (Emphasis in original.)

   Section 98.0751(3)(a) reiterates that the Department of State “shall obtain and review information

   pursuant to s. 98.075(5) related to a person who registers to vote and make an initial determination on

   whether such information is credible and reliable regarding whether the person is eligible pursuant to

   s. 4, Art. VI of the State Constitution and this section.” Under section 98.075, Clerks are but one of

   at least five reporters of such information. Then, section 98.0751(3)(b) reiterates that the “local su-

   pervisor of elections shall verify and make a final determination pursuant to s. 98.075 regarding

   whether the person who registers to vote is eligible pursuant to s. 4, Art. VI of the State Constitution

   and this section.”

           The Clerks have no role in the operation of section 98.0751 except to report what their systems

   show. In fact, section 98.0751 does not mention Clerks at all. Thus, the statutory procedures leave

   Clerks with no authority, discretion, or decision-making role in determining voter eligibility.



           9
           I.e., the Board of Executive Clemency, the Department of Corrections, the Department of
   Law Enforcement, or a United States Attorney’s Office. § 98.075(5)(a).


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                  3.      Clerks Report What They Know.

          Plaintiffs complain that Clerks’ records may be inaccurate, in Plaintiffs’ opinion, based on

   their apparent but mistaken—as a matter of law—belief that the Department of Corrections or others

   report dispositive numbers. See, e.g., Amended Complaint, ¶¶ 27 et seq. (a Plaintiff asserting that he

   had paid all of his LFOs because his probation officer and others told him so, or because his probation

   was terminated early). No Florida law provides that probation officers or election officials’ staff

   maintain accounts of court-awarded financial penalties. Agencies may maintain accounts of moneys

   owed to them specifically, and felons may make payments to them directly, or directly to their victims

   (i.e., restitution). Felons may but are not required by law to ensure that such payments are made

   known to Clerks.

          But Clerks can only account for what is paid or reported to Clerks. As the constitutional and

   statutory provisions above show, Clerks are not, contrary to Plaintiffs’ allegation in paragraph 48 of

   the amended complaint, “responsible” for providing an accurate balance of LFOs to would-be voters.

   Clerks keep records of what is reported first by the courts as LFOs, and then by anyone who makes a

   payment to the Clerks or who shows the Clerks evidence of payments to others. Nothing more. Fel-

   ons are not required to make all payments through the Clerks, or to report payments to the Clerks.

   Indeed, Plaintiffs admit multiple times in the amended complaint that the numbers provided by Clerks

   may be inaccurate, through no fault of the Clerks (for example):

          98. . . . the Department of Corrections does not inform Clerks of Court of payments
          made during incarceration . . . .

          101. . . . County Clerks still lack the necessary information . . . .

          103. County Clerks’ offices, however, lack the expertise and access to information to
          help people with prior felony convictions determine their LFOs . . . .




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           In a dispositive admission, Plaintiffs acknowledge the impossibility of their own prior allega-

   tion (in paragraph 48) that Clerks “are responsible for computation of LFOs, crediting payments to-

   wards LFOs, and informing people with prior felony convictions, upon request, of the LFOs owed.”

   Paragraph 106 admits the literal impossibility of that allegation (italics added):

           106. . . . County Clerks do not have and cannot track information on payments made
           to recipients other than the County Clerk, such as payments made to the Department
           of Corrections.

   In fact, other than fees and fines as noted in the constitutional provision cited above, Clerks need

   only—and can only—report what they know. Plaintiffs admit that acts of payment to the Department

   of Corrections and others may not be shared with Clerks, and that is true, such that Clerks are not

   aware of such payments. The Department of Corrections, of course, is another entity that reports

   directly to the Department of State under section 98.075(5)(a). Restitution payments, also, are not

   ordinarily shared with Clerks, as Plaintiffs admit and as evidenced by the little-used statute that allows

   a court to change that default status and order instead that restitution payments be made to Clerks

   (whether by a felon directly or via the Department of Corrections). See § 775.089(11)(a) (“The court

   may order the clerk of the court to collect and dispense restitution payments in any case.”).

           Plaintiffs further admit that Clerks may not have all information about payments when they

   discuss the Voting Rights Work Group, which was established by the Florida Legislature in SB 7066.

   See Ch. 2019-162, Laws of Florida, § 33. Plaintiffs allege:

           123. While the Work Group recommended that “restitution payments, and all other
           fines, fees, and costs, be made through the Clerks of Court to allow for tracking,” this
           system still does not exist.

   That’s an incontrovertible fact, and another dispositive admission that Clerks, while complying with

   law, may not have records to satisfy Plaintiffs’ desires.




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                   4.      Plaintiffs Fail to Allege a Constitutional Violation.

           Essentially, Amendment 4/SB7066 requires a felon seeking re-enfranchisement to do his or

   her homework and pay LFOs, perhaps in multiple counties that may have different forms of sentences,

   judgments, and awardable costs. Such homework has already been ruled constitutional by the Elev-

   enth Circuit. Jones II, 975 F.3d at 1029.

           The affirmative obligation of a felon to learn of and pay their LFOs is an express requirement

   of Florida law, and is not specific to voting registration. Section 28.246(4)(b) puts the onus on the

   felon, upon release from custody, to contact the Clerks to pay or arrange for a payment plan for their

   LFOs:

           It is the responsibility of an individual who is released from incarceration and has
           outstanding court obligations to contact the clerk within 30 days after release to pay
           fees, service charges, court costs, and fines in full, or to apply for enrollment in a
           payment plan.

   And see § 775.083(3) (“Unless otherwise designated by the court, a person who has been ordered to

   pay court obligations under this section shall immediately contact the clerk to pay fines, fees, service

   charges, and court costs in full or to apply for enrollment in a payment plan pursuant to s. 28.246(4).”).

           And, as a threshold matter of constitutional law: the substantive rights established under

   Amendment 4/SB7066 are not required by the federal Constitution. As discussed in Jones II, 975

   F.3d at 1029, the federal Constitution allows disenfranchisement of felons—period. As a threshold

   matter of Florida constitutional law, Amendment 4/SB7066 grants substantive rights, subject to re-

   medial procedures, and does not state a requirement that Clerks become “responsible for” chasing

   down every possible payment a felon may make that could affect their LFO balance (or use a uniform

   statewide database of LFOs).




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           Plaintiffs’ ultimate complaint is that it is sometimes10 difficult to determine whether a felon

   has completed the financial terms of a sentence. If that challenge sounds familiar to the Court, it is

   because the Eleventh Circuit in Jones II squarely faced it:

           The felons’ real complaint is that it is sometimes difficult to determine whether a felon
           has completed the financial terms of his sentence. They offer examples of felons who
           cannot locate their criminal judgments, cannot determine which financial obligations
           were imposed for felony as opposed to misdemeanor offenses, or do not know how
           much they have paid toward their financial obligations. But these concerns arise not
           from a vague law but from factual circumstances that sometimes make it difficult to
           determine whether an incriminating fact exists.

   Id. at 1047 (citing United States v. Williams, 553 U.S. 285, 306 (2008)). The Eleventh Circuit ex-

   pressly determined that the current framework—the very same framework challenged by Plaintiffs—

   satisfies the Due Process and Equal Protection Clauses.

           That Eleventh Circuit went on to address the supposed constitutional deprivation in finding

   complex accountings to be complex:

           A fundamental confusion in this litigation has been the notion that the Due Process
           Clause somehow makes Florida responsible not only for giving felons notice of the
           standards that determine their eligibility to vote but also for locating and providing
           felons with the facts necessary to determine whether they have completed their finan-
           cial terms of sentence. The Due Process Clause imposes no such obligation. States are
           constitutionally entitled to set legitimate voter qualifications through laws of general
           application and requires voters to comply with those laws through their own efforts.
           So long as a State provides adequate procedures to challenge individual determina-
           tions of ineligibility—as Florida does—due process requires nothing more.

   Id. at 1049.

           Florida’s voting restoration laws are of general application. They permissively require vot-

   ers—felons who are best positioned to know their sentences, perhaps in multiple cases and multiple

   jurisdictions—to comply with those laws through primarily their own efforts. They provide “more




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           Of the 67 Clerks, Plaintiffs plead specific factual allegations against only nine. See, e.g.,
   Amended Complaint, ¶¶ 110, 111, and 116.


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   than adequate” procedures to challenge ineligibility. Id. (discussed below). Thus, as a matter of law,

   Florida’s SB 7066 procedures do not infringe upon Plaintiffs’ constitutional rights.

           C.      Clerks Cannot Create a Uniform, Statewide Database.

           Plaintiffs repeatedly assert that a uniform, statewide database should exist specifically for ac-

   counting for LFOs that the Department of State and Supervisors would use for determination of voter

   eligibility. See, e.g., Amended Complaint, ¶ 103 (“. . . Florida has no centralized database that reflects

   how much an individual owes in fines and court fees . . . .”); ¶¶ 105–109 (alleging different local

   recordkeeping practices). In their Prayer for Relief, Plaintiffs ask for an injunction ordering Defend-

   ants, including Clerks, to “Establish a reliable state-wide database.” Amended Complaint at 74–75.

           Plaintiffs point to the Voting Rights Work Group, which was established by the Florida Leg-

   islature as part of SB 7066. See 2019-162, Laws of Florida, § 33. As Plaintiffs note, the Work Group

   (which included Clerks) recommended a statewide database be created. See Amended Complaint,

   ¶¶ 117–124 (noting the Work Group’s recommendations for creation of a centralized database and for

   Clerks’ systems to be “enhanced” to meet such needs).

           But, as the Plaintiffs also note, no statewide database has been established. While section

   98.093(3)(c) provides an option to report information to the “Comprehensive Case Information Sys-

   tem” (CCIS), that system is based on case types administered by the Florida Supreme Court, see

   § 28.2405, was not created or enabled to handle the current-account balance requirements the Plain-

   tiffs seek, and does nothing to change the fact that the Clerks still could only report what is reported

   to them. The Work Group was created by the Legislature, and the recommendation was to the Leg-

   islature. Nothing in Plaintiffs’ allegations disagrees with the Work Group’s acknowledgement that

   there is no statewide database available to meet Plaintiffs’ alleged needs, and no authority for the

   Clerks to create one. By Plaintiffs’ own allegations, and by the constitutional and statutory provisions

   defining the Clerks’ powers and duties cited above, it is beyond dispute that the 67 Clerks have no


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   authority or ability to create a statewide database of LFOs for purposes of voting rights determina-

   tions. Such a database would need to allow not only for multi-jurisdictional data input, but for multi-

   agency input as well. Even if Clerks had such powers, they would lack the resources to execute such

   an unfunded mandate.

           In sum, for purposes of this Motion to Dismiss, while a centralized database may be a good

   idea, the Clerks can neither create it nor make it include information that would cure Plaintiffs’ alleged

   injuries. It would still only record LFO payment information to the extent known to the Clerks. There-

   fore, Plaintiffs are unable to obtain the relief they are seeking from the Clerks.

           D.      Available Remedies Are Constitutionally Appropriate and Plaintiffs Have
                   Failed to Exhaust Them.

           Plaintiffs’ section 1983 claims (the Second and Third Claims for Relief) and equitable ac-

   counting claims (the Fourth) should be dismissed as they are utterly vitiated by the Eleventh Circuit’s

   holding that the procedures set forth in Amendment 4/SB7066 are adequate to address any federal

   constitutional concerns. In addition, the Amended Complaint makes clear that Plaintiffs have not

   utilized, much less exhausted, those administrative and judicial remedies.

                   1.      Available Remedies Have Been Ruled Constitutionally Sound.

           Florida Statutes provide multiple procedures by which a felon can challenge the correctness

   of LFO records with a specific purpose of addressing voting eligibility. First, as noted above, section

   98.075(7) provides detailed procedures by which a felon can challenge the accuracy of the infor-

   mation reviewed by the Department of State and Supervisors. Those procedures include the right to

   challenge the Supervisor’s determination (section 98.075(7)(a)5.), and the “right to request a hearing

   for the purpose of determining eligibility.” § 98.075(7)(a)2.f. If the felon doesn’t like the outcome

   of that hearing, an appeal is available. § 98.075(7)(b)5.




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          And if a felon doesn’t want to live with any of that, or still fails to arrive at an understood or

   agreed amount of LFOs for purposes of restoration of voting rights, section 98.0751 provides a judi-

   cial remedy:

          d. For the limited purpose of addressing a plea for relief pursuant to sub-subparagraph
          e. and notwithstanding any other statute, rule, or provision of law, a court may not be
          prohibited from modifying the financial obligations of an original sentence required
          under sub-subparagraph a. or sub-subparagraph b. Such modification shall not in-
          fringe on a defendant’s or a victim’s rights provided in the United States Constitution
          or the State Constitution.

          e. . . . A term required to be completed in accordance with this paragraph shall be
          deemed completed if the court modifies the original sentencing order to no longer
          require completion of such term . . . .

   § 98.0751(2)(a)5.d.–e.

          The Eleventh Circuit has opined on these very procedures, unequivocally holding they are

   “more than adequate”:

          Florida provides registered voters with adequate process before an individual deter-
          mination of ineligibility. Before being removed from the voter registration system,
          voters are entitled to predeprivation notice and a hearing. Fla Stat 98.075(5), (7).
          And any voter who is dissatisfied with the result is entitled to de novo review of the
          removal decision in state court. Id § 98.0755. These procedures provide more than
          adequate process to guard against erroneous ineligibility determinations.

   Jones II, 975 F.3d at 1049; see also McKinney v. Pate, 20 F.3d 1550, 1557 (11th Cir. 1994) (a proce-

   dural due process violation actionable under section 1983 does not occur unless the state refuses to

   provide a process sufficient to remedy the supposed deprivation). Each individual Plaintiff, and each

   person the FRRC alleges it represents, can (or did) use those procedures, and obtain prompt, local,

   and complete redress of their particular concerns.

                  2.        Plaintiffs Have Failed to Use, Much Less Exhaust, Those
                            Remedies.

          The constitutionally-sound procedures not used by Plaintiffs conclusively show a substantive

   lack of Equal Protection or Due Process violations. They also show that Plaintiffs have failed to



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   satisfy conditions precedent in the form of exhausting available remedies. Both the administrative

   and judicial remedies substantively provide for an equitable accounting, since they provide the rem-

   edies an equitable accounting could. Yet the amended complaint ignores those procedures by bringing

   a pendent claim in federal court for equitable accounting on behalf of (according to them) some 1.4

   million people (per paragraph 2 of the amended complaint) (or on behalf of 15,000 alleged members).

           The Eleventh Circuit discussed exhaustion in a section 1983 context in Johnson v. Meadows,

   418 F.3d 1152 (11th Cir. 2005) (about the writ of habeas corpus):

           this court has noted that “when a state provides a grievance procedure for its prison-
           ers…an inmate alleging harm suffered from prison conditions must file a grievance
           and exhaust the remedies available under that procedure before pursuing a § 1983
           lawsuit.” Brown v. Sikes, 212 F.3d 1205, 1207 (11th Cir. 2000). This court has de-
           scribed seven policy reasons for favoring an exhaustion requirement:

                   (1) to avoid premature interruption of the administrative process;

                   (2) to let the agency develop the necessary factual background upon which
                   decisions should be based;

                   (3) to permit the agency to exercise its discretion or apply its expertise;

                   (4) to improve the efficiency of the administrative process;

                   (5) to conserve scarce judicial resources, since the complaining party may be
                   successful in vindicating rights in the administrative process and the courts
                   may never have to intervene;

                   (6) to give the agency a chance to discover and correct its own errors; and

                   (7) to avoid the possibility that frequent and deliberate flouting of the admin-
                   istrative processes could weaken the effectiveness of an agency by encourag-
                   ing people to ignore its procedures.

   Johnson, 418 F.3d at 1156 (citing Alexander v. Hawk, 159 F.3d 1321, 1327 (11th Cir. 1998)) (internal

   quotations omitted). Voting eligibility after prison is serious; getting out of prison even more serious,

   but exhaustion nonetheless applies. The policy reasons cited in Johnson are even more applicable

   here.




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                   3.      Plaintiffs’ Other Claims for Equitable Relief Must Be Dismissed.

           Just as Plaintiffs’ claims for an equitable accounting must be dismissed, the same is true for

   their other claims for equitable relief. Plaintiffs claim entitlement to not only an equitable accounting,

   but also to accompanying remedies of disgorgement and unjust enrichment. Essentially, Plaintiffs

   allege they would not have paid LFOs that were owed if they were aware that the payment would not

   specifically restore voting rights. See Amended Complaint at 75.

           Such allegations cannot support any kind of equitable relief. Disgorgement and unjust en-

   richment are variations on a theme by which a court may undo ill-gotten gains. See Duty Free World,

   Inc. v. Miami Perfume Junction, Inc., 253 So. 3d 689, 698 (Fla. 3d DCA 2018) (“Disgorgement is an

   equitable remedy intended to prevent unjust enrichment.”) (quoting SEC v. Monterosso, 756 F.3d

   1326, 1337 (11th Cir. 2014)). The elements of unjust enrichment are that (1) plaintiff has conferred

   a benefit on the defendant, who has knowledge thereof; (2) defendant voluntarily accepts and retains

   the benefit conferred; and (3) the circumstances are such that it would be inequitable for the defendant

   to retain the benefit without paying the value thereof to the plaintiff. Peoples National Bank of Com-

   merce v. First Union National Bank of Florida, 667 So. 2d 876, 879 (Fla. 3d DCA 1996). There is

   nothing “inequitable” in Clerks’ acceptance of criminal penalties owed by a felon even if the payments

   satisfy more than just the LFOs relevant to restoration of voting rights.

           E.      Plaintiffs Lack Article III Standing With Respect to Their Claims Against
                   Clerks.

           Finally, because Clerks simply report payments of LFOs as reported to them and cannot cause

   or cure Plaintiffs’ alleged injuries, Plaintiffs lack Article III standing to bring their claims against

   Clerks. Article III standing has three elements:

           (1) “an ‘injury in fact’ — a harm suffered by the plaintiff that is ‘concrete’ and ‘actual
           or imminent’, not ‘conjectural’ or ‘hypothetical;’”




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           (2) “causation — a fairly traceable connection between the plaintiff’s injury and the
           complained-of conduct of the defendant;” and

           (3) “redressability — a likelihood that the requested relief will redress the alleged in-
           jury.”

   Alabama-Tombigbee Rivers Coalition v. Norton, 338 F.3d 1244, 1252 (11th Cir. 2003) (quoting Steel

   Co. v. Citizens for a Better Env’t, 523 U.S. 83, 102–04 (1998). “Even when the plaintiff has alleged

   injury sufficient to meet the ‘case or controversy’ requirement . . . the plaintiff generally must assert

   his own legal rights and interests, and cannot rest his claim to relief on the legal rights or interests of

   third parties.” Warth v. Seldin, 422 U.S. 490, 499 (1975).

           Plaintiffs admit Clerks’ records may not—and in fact “cannot”—reflect all payments Plaintiffs

   may have made. As seen above, Plaintiffs admit in (at least) paragraphs 98, 101, 103, and 106 of the

   amended complaint that Clerks do not possess the information Plaintiffs wish. Plaintiffs can therefore

   cite no injury in fact traceable to or caused by Clerks. Plaintiffs also seek a statewide database, but

   can show no authority by which Clerks could create such a database. In fact, the amended complaint

   cites approvingly the Voting Rights Work Group conclusions that are consistent with that fact. Be-

   cause Clerks cannot provide the cure Plaintiffs seek, Plaintiffs fail the element of redressability.

                                               *       *        *

           Plaintiffs’ numerous complaints with respect to Clerks are philosophical, not legal. Plaintiffs

   repeatedly admit that Clerks can only maintain accounts of LFOs to the extent payments are made

   known to Clerks, and repeatedly admit that Clerks are not so informed. And the law is clear that

   Clerks’ only role in the determination of voter eligibility is to report the numbers as known. Therefore,

   Plaintiffs cannot hope to make a claim against the Clerks under section 1983 for violation of the First

   or Fourteenth Amendment, or for an equitable accounting.

           Plaintiffs’ members are best suited to know what obligations they owe and what they have

   paid. They are not entitled to rely on a probation officer’s information about a particular charge or


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   early termination of probation condition, skip the entire statutory processes (administrative and judi-

   cial) by which they could get a dispositive answer, and claim a federal constitutional violation, espe-

   cially when the Florida Statutes make clear that every person released from custody is to contact the

   Clerks to pay or make arrangements to pay all of their LFOs. See § 775.083(3). And if they feel

   slighted in that process, Plaintiffs have multiple remedies, including a statutory method through the

   Supervisors of Elections and the Department of State, or a judicial process through the circuit court.

   The Eleventh Circuit has already ruled that the difficulties of which Plaintiffs complain do not amount

   to any constitutional violation, and those remedy procedures are “more than adequate” constitutional

   safeguards.

           And Plaintiffs’ acknowledgment that Clerks “cannot” provide complete information proves

   Plaintiffs’ alleged injuries are neither caused by nor redressable by the Clerks. Consequently, Plain-

   tiffs fail to make claims for violation of their rights and fail to satisfy the requirements of Article III

   standing against the 67 Clerks. Their Second, Third, and Fourth Claims are due to be dismissed as

   against the Clerks pursuant to Federal Rule of Civil Procedure 12(b)(1) and (6).

           WHEREFORE, The Clerks respectfully request all claims against them be dismissed.

   VI.     PLAINTIFFS’ CLAIMS AGAINST THE SUPERVISORS SHOULD BE DISMISSED.

           To “protect the integrity of the electoral process by ensuring the maintenance of accurate and

   current voter registration records,” the Florida Legislature has established a statutory framework for

   the review of voter-registration records and the removal of voters who are ineligible to vote. Fla. Stat.

   § 98.075(1). As it relates to individuals with prior felony convictions, that process requires the Florida

   Department of State to make an initial determination of the voter’s potential ineligibility and to notify

   the appropriate Supervisor of Elections. Id. § 98.075(5). It then requires the Supervisor to notify the

   voter and invite information from the voter. Id. § 98.075(7)(a)1.–2. The Supervisor must make a final

   determination of eligibility or ineligibility and notify the voter of the Supervisor’s final determination


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   and action, which may include the voter’s removal from the registration rolls. Id. § 98.075(7)(a)3.–5.

           Most of the amended complaint’s allegations revolve around the calculation and resolution of

   legal financial obligations, or LFOs, which must be discharged before the voting rights of individuals

   with prior felony convictions can be restored. Plaintiffs’ allegations against the Supervisors, however,

   are thin at best. In three paragraphs of the 77-page pleading, Plaintiffs allege in the most perfunctory

   way that all sixty-seven Supervisors fails to provide voters with the requisite notice of the Supervisor’s

   determination of ineligibility. Id. ¶¶ 114–16. Plaintiffs ask this Court to issue an injunction ordering

   the Supervisors to comply with state law and to provide the notices that state law demands. Id. at 69–

   70.

           Contrary to Plaintiffs’ unsupported, blanket allegations, the Supervisors do comply with state

   law. If necessary, at the appropriate time, the Supervisors will move for an award of all attorney’s fees

   incurred to defend against Plaintiffs’ factually baseless allegations. See Christiansburg Garment Co.

   v. EEOC, 434 U.S. 412, 420 (1978) (authorizing defendants to recover fees in litigation that has no

   “factual basis”). At the pleading stage, however, the Supervisors accept (as they must) Plaintiffs’ well-

   pleaded allegations. Still, for multiple reasons, the Court should dismiss Plaintiffs’ claims against the

   Supervisors.

           First, as explained above, sovereign immunity bars Plaintiffs’ claims. See supra Part II. But

   even if it did not, Plaintiffs’ claims would fail because Plaintiffs do not allege—as they must under

   section 1983—that the Supervisors’ purported failures are traceable to a policy or custom of deliberate

   indifference.

           Second, Plaintiffs’ joinder of sixty-seven Supervisors in one action is improper. While Plain-

   tiffs allege that each Supervisor violates the same statutory requirement, that is not enough to support

   the joinder of all Supervisors in one action. Plaintiffs do not allege concerted action by the Supervisors




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   and therefore fail to allege that the purported omissions arise from the same transaction or occurrence.

   Indeed, the evidence needed to prove one Supervisor’s violation would not begin to prove another’s.

           Third, Plaintiffs’ claims against the Supervisors hinge on threadbare allegations that fall well

   short of federal pleading standards. Plaintiffs merely recite the provisions of section 98.075 and then

   allege, in the most conclusory way, that the Supervisors do not follow those provisions and provide

   notice. That generalized and fact-free assertion fails to plead a plausible claim against the Supervisors.

           Fourth, Plaintiffs’ equal-protection claim fails in several ways. Plaintiffs do not allege that the

   Supervisors provide notice to some voters but not others, and thus do not allege unequal treatment.

   To the extent Plaintiffs rely on variations between counties, they have not stated a claim against the

   Supervisors, each of whom is responsible only for equal treatment of similarly situated persons within

   a single county. Finally, the allegations that support Plaintiffs’ equal-protection claim revolve around

   LFOs, and Plaintiffs do not allege that the Supervisors have any duties or responsibilities as to LFOs.

           Fifth, the Supervisors have no legal duty under state or federal law, statutory or constitutional,

   to monitor the voting rights of individuals who are not registered to vote, and, once their voting rights

   have been restored, to provide those individuals with notice of their right to register to vote. Because

   no such obligation exists, the amended complaint should be dismissed to the extent it alleges a failure

   to provide such notice.

           A.      Plaintiffs Have Not Plausibly Alleged Section 1983 Liability.

           Even if the Supervisors were not arms of the State entitled to sovereign immunity (which they

   are, see supra Part II.B.), Plaintiffs’ claims against them should be dismissed because Plaintiffs have

   not plausibly alleged that the Supervisors’ purported failure to provide the notice is the product of an

   official policy or custom. Plaintiffs have therefore failed to plead that the Supervisors are liable under

   section 1983.




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              A county official may be liable under section 1983 only if the challenged conduct flows from

   an official “policy or custom.” Monell v. Dep’t of Soc. Servs. of City of N.Y., 436 U.S. 658, 694 (1978).

   Where, as here, the challenged conduct consists of inaction, a plaintiff must plead and prove deliberate

   indifference. City of Canton v. Harris, 489 U.S. 378, 389 (1989) (“Only where a failure to train reflects

   a ‘deliberate’ or ‘conscious’ choice . . . can a city be liable for such a failure under § 1983.”); Butler

   v. Elle, 281 F.3d 1014, 1026 n.7 (9th Cir. 2002) (“The custom or policy of inaction, however, must be

   the result of a conscious or deliberate choice to follow a course of action . . . .” (citation and internal

   marks omitted)); Daskalea v. Dist. of Columbia, 227 F.3d 433, 441 (D.C. Cir. 2000) (“[A] city’s in-

   action . . . constitutes a ‘policy or custom’ under Monell when it can be said that the failure amounts

   to ‘deliberate indifference’ towards the constitutional rights of persons in its domain.” (internal marks

   omitted)); Carter v. Morris, 164 F.3d 215, 218 (4th Cir. 1999) (“Municipal policy may be found in

   . . . certain omissions on the part of policymaking officials that manifest deliberate indifference to the

   rights of citizens . . . .”); Jenkins v. Wood, 81 F.3d 988, 994 (10th Cir. 1996) (“If the plaintiff asserts

   the alleged custom or policy comprised a failure to act, he or she must demonstrate the municipality’s

   inaction resulted from deliberate indifference to the rights of the plaintiff.” (internal marks omitted)).

              Deliberate indifference “is a stringent standard of fault, requiring proof that a municipal actor

   disregarded a known or obvious consequence of his action.” Bd. of Cnty. Comm’rs of Bryan Cnty. v.

   Brown, 520 U.S. 397, 410 (1997). “Plainly stated, a ‘showing of simple or even heightened negligence

   is not enough.’” McDowell v. Brown, 392 F.3d 1283, 1291 (11th Cir. 2004) (quoting Brown, 520 U.S.

   at 407).

              Here, Plaintiffs allege that the Supervisors “are not following” the notice procedures set forth

   in section 98.075(7)(a) or “notifying voters subject to this review process.” ECF No. 9 ¶ 116. Plaintiffs

   do not and cannot allege that the purported omission is the product of a policy or custom under Monell.




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   The amended complaint contains no allegation that the alleged failure to provide notice was the result

   of a conscious choice in disregard of the constitutional rights of voters. Without a plausible allegation

   of deliberate indifference, Plaintiffs have failed to state a claim against the Supervisors under section

   1983.

            B.        Plaintiffs’ Joinder of Sixty-Seven Supervisors in One Action Is Improper.

            Florida’s sixty-seven Supervisors should be dropped because they are not properly joined in

   a single action. Plaintiffs claim that all Supervisors violate the same statute—a statute that requires

   them to provide notice to registered voters with prior felony convictions. ECF No. 9 ¶ 116. Plaintiffs

   do not, however, allege concerted action among the sixty-seven Supervisors or a common plan or

   policy that combines their county-level acts or omissions into a single transaction or occurrence. In-

   deed, to establish their claims against the Supervisors, Plaintiffs must proceed county by county, one

   Supervisor at a time. Because Plaintiffs do not plausibly allege any glue that combines one county’s

   alleged violations with another county’s alleged violations, the Supervisors are not properly joined in

   a single action.

            A plaintiff may not join multiple defendants in a single action unless its claims against all of

   the defendants arise from “the same transaction, occurrence, or series of transactions or occurrences.”

   Fed. R. Civ. P. 20(a)(2). For example, when a plaintiff’s claims challenge a general policy—or a pat-

   tern or practice traceable to the same decisionmaker—the events that underlie the plaintiff’s claims

   are “logically related” and arise from the same transaction or occurrence. Alexander v. Fulton Cnty.,

   207 F.3d 1303, 1323–24 (11th Cir. 2000); Harvard v. Inch, 411 F. Supp. 3d 1220, 1237–38 (N.D. Fla.

   2019).

            On the other hand, the mere allegation that all defendants violated the same law, acted in the

   same manner, or caused the same injury in the same way does not warrant their joinder in one action.

   Brooks v. Brooks Consultants, Inc., No. 6:22-cv-00669, 2022 WL 18493474, at *5 (M.D. Fla. Nov. 7,


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   2022), report and recommendation adopted, 2023 WL 3121344 (M.D. Fla. Jan. 12, 2023); Interscope

   Records v. Does 1–25, No. 6:04-cv-00197, 2004 WL 6065737, at *5 (M.D. Fla. Apr. 1, 2004), report

   and recommendation adopted, 2004 WL 7078585 (M.D. Fla. Apr. 27, 2004). “Rule 20 refers to the

   same transaction or occurrence, not to similar transactions or occurrences.” Squeaky Gate, Inc. v. Ohio

   Sec. Ins. Co., No. 8:18-cv-02382, 2018 WL 5839870, at *1 (M.D. Fla. Nov. 8, 2018) (quoting Hartley

   v. Clark, No. 3:09-cv-00559, 2010 WL 1187880, at *3 (N.D. Fla. Feb. 12, 2010)) (emphasis in

   Squeaky Gate). To meet the standard in Rule 20(a), a plaintiff must allege “common operative facts”

   and “concerted activity” among the defendants. Barber v. Am.’s Wholesale Lender, 289 F.R.D. 364,

   367–68 (M.D. Fla. 2013); accord Longhini v. Sembler, No. 6:17-cv-02093, 2018 WL 1833137, at *4

   (M.D. Fla. Jan. 4, 2018), report and recommendation adopted, 2018 WL 739927 (M.D. Fla. Feb. 7,

   2018).

            For example, in A.D. v. Cavalier Mergersub LP, No. 2:22-cv-00095, 2022 WL 4357989 (M.D.

   Fla. Sept. 20, 2022), the plaintiff sued multiple hotels at which she claimed to have been victimized

   by sex trafficking. Despite broad allegations that the hotel industry participates in sex trafficking, the

   court concluded that joinder was improper because the plaintiff failed to allege “concerted activity”

   among the defendant hotels. Id. at *4. Similarly, in Tacoronte v. Collection Company of America, No.

   6:10-cv-01477, 2010 WL 11651422 (M.D. Fla. Nov. 2. 2010), report and recommendation adopted,

   2010 WL 11651423 (M.D. Fla. Nov. 29, 2010), the plaintiff sued multiple defendants that he claimed

   unlawfully sought his credit-bureau information. While the alleged transactions were similar, they did

   not arise from the same transaction or occurrence, and joinder was improper. Id. at *2; accord Daker

   v. Holmes, No. 20-13601, 2022 WL 2129076, at *6 (11th Cir. June 14, 2022) (finding misjoinder of

   twelve defendants who were each alleged to have unlawfully withheld documents from the plaintiff).




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           For the same reasons, Rule 20 does not authorize joinder of all sixty-seven Supervisors in this

   action. Plaintiffs allege that the Supervisors do not follow section 98.075(7)(a)’s notice procedures.

   ECF No. 9 ¶ 116. According to Plaintiffs, the Supervisors do not provide notice to registered voters

   with prior felony convictions whom the Supervisors have determined to be ineligible to vote. Id. At

   most, Plaintiffs have alleged that each Supervisor violates the same statute in the same way—in other

   words, that each Supervisor has engaged in similar transactions or occurrences. That is not enough.

   Without a common nucleus of operative facts and well-pleaded allegations of concerted action, the

   alleged violations might resemble one another, but do not comprise a single transaction or occurrence.

           Plaintiffs try to portray the alleged violations by all Supervisors as a single, statewide policy

   or practice, asserting that Defendants generally have engaged in a “campaign of acts and omissions,”

   id. ¶ 3, “created and encouraged a chaotic and broken system,” id. ¶ 82, and “created and perpetuated

   barriers,” id. ¶ 125. But “Plaintiffs’ broad, conclusory allegations of connectivity do not establish a

   sufficient connection between Defendants to permit joinder.” Omega, SA v. Individuals, Bus. Entities,

   & Unincorporated Ass’ns Identified on Schedule “A”, --- F. Supp. 3d ----, No. 0:22-cv-60026, 2023

   WL 2248233, at *2–3 (S.D. Fla. Jan. 14, 2023) (finding joinder improper where the defendants were

   alleged to have infringed the same trademarks in the same way). Such broad generalities deserve no

   weight under well-settled pleading rules. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007) (ex-

   plaining that “naked assertion” without “further factual enhancement” fails to plead a plausible claim).

           Plaintiffs’ amended complaint sets forth no plausible, well-pleaded allegation that Florida’s

   sixty-seven Supervisors acted in concert or in furtherance of a common plan to deny voters notice of

   determinations of ineligibility or potential ineligibility. To prove their claims against the Supervisors,

   Plaintiffs must present county-specific evidence—one county at a time. The evidence that establishes

   one Supervisor’s failure to provide notice does not begin to establish another Supervisor’s failure—a




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   surefire sign that Plaintiffs’ claims against sixty-seven Supervisors do not arise from “the same trans-

   action, occurrence, or series of transactions or occurrences.” Fed. R. Civ. P. 20(a)(2). Because the

   Supervisors are not properly joined, this Court should drop them from this action. See Fed. R. Civ. P.

   21 (explaining that, while misjoinder is not a “ground for dismissing an action,” a court may “at any

   time, on just terms, . . . drop a party” or “sever any claim against a party” that was not properly joined).

           C.      Plaintiffs’ Threadbare Allegations Fail to Plead a Plausible Claim Against the
                   Supervisors.

           Plaintiffs’ claims against the Supervisors should also be dismissed because the allegations that

   support those claims are threadbare and conclusory and fall far short of the factual content needed to

   state a plausible claim. As to the Supervisors, the amended complaint does little more than recite the

   statutory provisions that require Supervisors to provide notice, and allege in the most formulaic way

   that the Supervisors do not provide the required notice. That is insufficient to plead a plausible claim.

           “To survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted

   as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678

   (2009) (internal marks omitted). While detailed factual allegations are unnecessary, a pleading that

   “tenders naked assertions devoid of further factual enhancement” or “offers labels and conclusions

   or a formulaic recitation of the elements of a cause of action will not do.” Id. (internal marks omitted).

           As to the Supervisors, the amended complaint comes up short. It recites the legal obligations

   that section 98.075 imposes with respect to registered voters who have prior felony convictions. ECF

   No. 9 ¶ 115 & nn.85–89. It explains that section 98.075(7) requires Supervisors who receive notice

   from the Florida Department of State of a voter’s potential ineligibility to notify the voter of the voter’s

   potential ineligibility, make a final determination, and notify the voter of that final determination. Id.

   It then alleges that the Supervisors “are not following these procedures and are not notifying voters

   subject to this review process when the Supervisors have concluded that persons with prior felony



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   convictions are ineligible to register to vote or are improperly registered to vote.” Id. ¶ 116; see also

   id. ¶ 192.g. (alleging in a superficial way that all Supervisors are “failing to comply with their obliga-

   tions under Florida Statutes section 98.075 and 98.0751 to notify people with prior felony convictions

   who are not eligible to register to vote, or who are improperly registered to vote”). Without factual

   enhancement, it simply alleges that sixty-seven constitutional officers are violating a statutory duty.11

           Plaintiffs’ allegations against the Supervisors therefore hinge on the naked assertion that the

   Supervisors do not comply with section 98.075(7). Plaintiffs’ allegations against the Supervisors are

   formulaic and threadbare—and therefore insufficient to advance their claims against the Supervisors

   beyond “the line between possibility and plausibility of entitlement to relief.” Iqbal, 556 U.S. at 678

   (internal marks omitted). Accordingly, Plaintiffs’ claims against the Supervisors should be dismissed.

           D.      Plaintiffs Fail to State a Plausible Equal-Protection Claim Against the
                   Supervisors.

           For additional reasons, the amended complaint fails to state an equal-protection claim against

   the Supervisors. First, Plaintiffs allege that the Supervisors fail to provide notice to voters—not that

   they provide notice to some voters, but not others. Plaintiffs do not therefore allege the foundational

   element of an equal-protection claim: unequal treatment. Second, to the extent Plaintiffs claim that

   variations in practice from county to county violate equal protection, that claim does not lie against


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              Plaintiffs also allege that Supervisors do not “notify people with prior felony convictions
   when they have successfully had their voting rights restored.” ECF No. 9 ¶ 114. Supervisors have no
   obligation under state or federal law to track the restoration of individuals’ voting rights and provide
   notice as described in paragraph 114. See infra Part VI.E.
           Finally, Plaintiffs allege that Supervisors in two counties did not notify Ms. Sanchez and Ms.
   Jones of their “purportedly outstanding LFOs.” ECF No. 9 ¶ 116. But Supervisors have no duty to
   provide notice of outstanding LFOs. Nor do Plaintiffs allege that the notice requirements of section
   98.075(7) were even triggered. Plaintiffs do not allege that the Department of State determined Ms.
   Sanchez or Ms. Jones to be potentially ineligible (triggering the notice requirement under section
   98.075(7)(a)1.) or that a Supervisor found Ms. Sanchez or Ms. Jones to be ineligible (triggering the
   notice requirement under section 98.075(7)(a)3.–5.). Nor does this allegation even mention the other
   sixty-five Supervisors.


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   the Supervisors, each of whom is responsible only for the equal treatment of similarly situated people

   within the county the Supervisor serves. Third, the factual allegations that underlie Plaintiffs’ equal-

   protection claim all relate to the legal financial obligations, or LFOs, of individuals with prior felony

   convictions. The Supervisors have no role in the resolution or calculation of LFOs, and Plaintiffs do

   not allege otherwise. Plaintiffs have not, therefore, plausibly alleged that the Supervisors have violated

   equal protection.

                   1.      Plaintiffs Do Not Allege That Any Supervisor Treats Similarly
                           Situated Individuals Differently.

           To plead a violation of equal protection, a plaintiff must allege that he or she was “treated

   differently from other similarly situated individuals.” Campbell v. Rainbow City, 434 F.3d 1306, 1314

   (11th Cir. 2006).

           Plaintiffs allege that the Supervisors fail to provide notice as required by section 98.075(7).

   ECF No. 9 ¶¶ 115–16. That is equal treatment, not unequal treatment: Plaintiffs do not allege that the

   Supervisors provide notice to some ineligible voters, but not others, and do not therefore allege that

   anyone was treated differently from other similarly situated individuals. Because Plaintiffs have not

   alleged differential treatment, they have not stated an equal-protection claim against the Supervisors.

           In addition, to plead an equal-protection violation, a plaintiff must allege that the “challenged

   action was motivated by an intent to discriminate.” Elston v. Talladega Cnty. Bd. of Educ., 997 F.2d

   1394, 1406 (11th Cir. 1993). As explained above, see supra Part IV.B., as to the Supervisors, Plaintiffs

   do not allege that a discriminatory intent motivated any purported omission. For this additional reason,

   the Court should dismiss Plaintiffs’ equal-protection claim against Florida’s Supervisors of Elections.

                   2.      A Supervisor Does Not Violate Equal Protection When a
                           Supervisor in Another County Administers Elections Differently.

           To the extent Plaintiffs maintain that variations between counties violate equal protection, they

   fail to state a claim against any Supervisor. Each Supervisor’s authority encompasses the Supervisor’s


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   own county, and Plaintiffs do not allege that any Supervisor treats similarly situated individuals within

   the same county differently. The equal-protection claim against the Supervisors should be dismissed.

           Differences in election administration between counties cannot support an equal-protection

   claim against any single Supervisor. Equal protection guarantees the right “to participate in elections

   on an equal basis with other citizens in the jurisdiction.” Dunn v. Blumstein, 405 U.S. 330, 336 (1972)

   (emphasis added). Just as a State does not violate equal protection when its policies differ from those

   of another State, a Supervisor in one county does not violate equal protection when a Supervisor in

   another county administers elections differently. Accordingly, in Citizen Center v. Gessler, 770 F.3d

   900, 917–18 (10th Cir. 2014), the court affirmed the dismissal of county election officials because the

   plaintiffs alleged only “inter-county disparities”—not disparities between voters in the same county.

           Here, Plaintiffs do not allege that any Supervisor treats similarly situated persons within the

   Supervisor’s own county differently. Without such an allegation, Count II fails to state a claim against

   the Supervisors.

                   3.      The Factual Allegations That Support Plaintiffs’ Equal-
                           Protection Claim Have Nothing to Do With the Supervisors.

           Finally, the factual allegations that support Plaintiffs’ equal-protection claim relate to the legal

   financial obligations, or LFOs, of individuals with prior felony convictions. ECF No. 9 ¶¶ 179–81.

   But Plaintiffs do not allege—nor can they—that the Supervisors have any involvement in or respon-

   sibility for the resolution or calculation of LFOs. Plaintiffs have not alleged, therefore, that any dif-

   ferential treatment in the resolution and calculation of LFOs is somehow attributable to the Supervi-

   sors. For this additional reason, the equal-protection claim should be dismissed as to the Supervisors.

           In support of their equal-protection claim, Plaintiffs allege that potential voters receive incon-

   sistent information about their LFOs and that counties employ different practices in the calculation of

   LFOs, id. ¶ 179, and conclude that this “disparate and inconsistent application of procedures to resolve



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   LFOs subjects voters to arbitrary and disparate treatment based solely on where they reside,” id. ¶ 180.

   But Plaintiffs do not allege that the Supervisors have any role in the resolution or calculation of LFOs.

   On the contrary, they allege that the Clerks “are responsible for computation of LFOs, crediting pay-

   ments towards LFOs, and informing people with prior felony convictions, upon request, of the LFOs

   owed,” id. ¶ 48, and sets forth detailed allegations regarding LFOs against the Clerks, id. ¶¶ 102–13.

           Because the factual basis of Plaintiffs’ equal-protection claim is an alleged unequal treatment

   in the resolution and calculation of LFOs, and because the amended complaint contains no well-

   pleaded allegation that the Supervisors have any duties or responsibilities in relation to the resolution

   and calculation of LFOs, Plaintiffs’ equal-protection claim should be dismissed as to the Supervisors.

           E.      To the Extent They Allege Violations of Non-Existent Legal Requirements,
                   Plaintiffs’ Claims Against the Supervisors Should Be Dismissed.

           In addition to a failure to provide notice required by section 98.075(7), the amended complaint

   alleges that the Supervisors fail to comply with a notice requirement that does not exist. Specifically,

   Plaintiffs allege that the Supervisors do not notify potential voters who have prior felony convictions

   “when they have successfully had their voting rights restored and are therefore eligible to vote.” ECF

   No. 9 ¶ 114. But the Supervisors have no legal obligation—under state or federal law, constitutional

   or statutory—to monitor the voting rights of individuals who are not registered to vote and to notify

   them of their eligibility once their voting rights are finally restored. Plaintiffs can point to no statutory

   or constitutional duty that imposes that notice requirement. To the extent the amended complaint relies

   on a non-existent legal obligation, the Court should dismiss Plaintiffs’ claims against the Supervisors.

                                                 CONCLUSION

           For these reasons, the Court should dismiss Plaintiffs’ amended complaint. A “just, speedy,

   and inexpensive resolution of this case requires it. Fed. R. Civ. P. 1.




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    Dated October 30, 2023.                           Respectfully submitted,




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